          Case 16-09512-RLM-7                Doc 13        Filed 03/30/17          EOD 03/31/17 00:31:46               Pg 1 of 3
                                               United States Bankruptcy Court
                                               Southern District of Indiana
In re:                                                                                                     Case No. 16-09512-RLM
Eddie Wayne Hutchison                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0756-1                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 28, 2017
                                      Form ID: b318                      Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 30, 2017.
db            #+Eddie Wayne Hutchison,    2510 Pleasant Way West,   Indianapolis, IN 46280-1861
14188140        Barclay Card Financing,    PO Box 8801,   Wilmington, DE 19899-8801
14188142       +Carmax Auto Finance,    225 Chastain Meadows Court,    Kennesaw, GA 30144-5897
14188144       +Courtney Scott,   Office of the Attorney General,     302 West Washington St., 5th Floor,
                 Indianapolis, IN 46204-4701
14188147        First National Bank of Omaha,    PO Box 3331,   Omaha, NE 68103-0331
14188150        PNC Bank,   PO Box 3180,    Pittsburgh, PA 15230-3180
14188152       +U.S. Attorney’s Office,    10 West Market Street, Suite 2100,    Indianapolis, IN 46204-1986

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
14188141        EDI: CAPITALONE.COM Mar 28 2017 22:53:00      Capital One,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
14188143        EDI: CHASE.COM Mar 28 2017 22:58:00      Chase,    Attn: Bankruptcy,    PO BOX 15145,
                 Wilmington, DE 19850-5145
14188145       +EDI: RCSFNBMARIN.COM Mar 28 2017 22:53:00       Credit One Bank,   P.O. Box 60500,
                 City of Industry, CA 91716-0500
14188146        EDI: DISCOVER.COM Mar 28 2017 22:53:00      Discover Card,    PO Box 30421,
                 Salt Lake City, UT 84130-0421
14188148       +E-mail/PDF: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV Mar 28 2017 23:10:14
                 Indiana Department of Revenue,    100 N. Senate Avenue,    Room N203-Bankruptcy,
                 Indianapolis, IN 46204-2253
14188149        EDI: IRS.COM Mar 28 2017 22:53:00      Internal Revenue Service,     PO BOX 7346,
                 Philadelphia, PA 19101-7346
14188151       +EDI: RMSC.COM Mar 28 2017 22:53:00      Synchrony Bank,    PO Box 965036,
                 Orlando, FL 32896-5036
                                                                                               TOTAL: 7

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 30, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 28, 2017 at the address(es) listed below:
              Brian Daniel Schellenberg   on behalf of Debtor Eddie Wayne Hutchison bankruptcybrian@gmail.com,
               brianschellenberglaw@gmail.com
              John J. Petr   petrtrustee@kgrlaw.com, IN28@ecfcbis.com
              U.S. Trustee   ustpregion10.in.ecf@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor              Eddie Wayne Hutchison                                 Social Security number or ITIN    xxx−xx−5432
                    Name                                                  EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court − Southern District of Indiana

Case number:        16−09512−RLM−7



Order of Discharge                                                                                                   12/2015

IT IS ORDERED that a discharge under 11 U.S.C. § 727 is granted to the following debtor:

           Eddie Wayne Hutchison


Dated: March 28, 2017                                             By the court: /s/ Robyn L. Moberly
                                                                                Judge, U.S. Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                   Pursuant to 11 U.S.C. § 524(c) or (f), this order
and it does not determine how much money, if                     does not prevent the debtor from paying any debt
any, the trustee will pay creditors.                             voluntarily or from paying reaffirmed debts
                                                                 according to the reaffirmation agreement.
Creditors cannot collect discharged debts
This order means that no one may make any                        Most debts are discharged
attempt to collect a discharged debt from the                    Most debts are covered by the discharge, but not
debtor personally. For example, creditors cannot                 all. Generally, a discharge removes the debtor's
sue, garnish wages, assert a deficiency, or                      personal liability for debts owed before the
otherwise try to collect from the debtor personally              debtor's bankruptcy case was filed.
on discharged debts. Creditors cannot contact the
debtor by mail, phone, or otherwise in any attempt               Also, if this case began under a different chapter
to collect the debt personally. Creditors who                    of the Bankruptcy Code and was later converted
violate this order can be required to pay the                    to chapter 7, debts owed before the conversion
debtor damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                    In a case involving community property, special
claim against the debtor's property subject to that              rules protect certain community property owned
lien unless the lien was avoided or eliminated. For              by the debtor's spouse, even if that spouse did
example, a creditor may have the right to                        not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.
                                                                                            For more information, see page 2 >




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Debtor Eddie Wayne Hutchison                                                                Case number 16−09512−RLM−7

Explanation of Bankruptcy Discharge in a Chapter 7 Case (continued)


Some debts are not discharged                                     Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are                     agreement are not discharged.
listed below:
                                                                  In addition, this discharge does not stop creditors
• Debts that are domestic support obligations.                    from collecting from anyone else who is also
                                                                  liable on the debt, such as an insurance company
• Debts for most student loans.                                   or a person who cosigned or guaranteed a loan.

• Debts for most taxes.
                                                                    This information is only a general summary
• Debts that the bankruptcy court has decided or                    of the bankruptcy discharge; some
  will decide are not discharged in this bankruptcy                 exceptions exist. Because the law is
  case.                                                             complicated, you should consult an
                                                                    attorney to determine the exact effect of the
• Debts for most fines, penalties, forfeitures, or                  discharge in this case.
  criminal restitution obligations.
• Some debts which the debtor did not properly
  list.

• Debts for certain types of loans owed to
  pension, profit sharing, stock bonus, or
  retirement plans.

• Debts for death or personal injury caused by
  operating a vehicle while intoxicated.




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